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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF GEORGIA
                            VALDOSTA DIVISION

BRIAN EDWARDS,                                )
                                              )
      Plaintiff,                              )      CIVIL ACTION
                                              )      FILE NO. ______________
v.                                            )
                                              )
TIFT REGIONAL MEDICAL CENTER,                 )
                                              )
      Defendant.                              )

                                   COMPLAINT

      Plaintiff Brian Edwards (“Plaintiff” or “Edwards”) hereby files this Complaint

against Defendant Tift Regional Medical Center (“Defendant” or “TRMC”),

alleging as follows:

                                INTRODUCTION

     1.      Plaintiff is a former employee of Defendant, having worked for

Defendant in February 2019.

     2.      Plaintiff asserts claims against Defendant for discrimination and

retaliation under 42 U.S.C. § 1981 (“§ 1981”) and Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. § 2000e et seq. (“Title VII”).

                         JURISDICTION AND VENUE

     3.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331

and 1343.
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       4.       Pursuant to 28 U.S.C. § 1391(b) and 42 U.S.C. § 2000e-5(f)(3) venue

is proper because all of the parties reside and/or conduct business within the Middle

District of Georgia and the unlawful employment practices giving rise to Plaintiff’s

claims occurred in this judicial district.

                                       PARTIES

       5.       Plaintiff resided in the Middle District of Georgia and was a citizen of

Georgia at all times relevant to this litigation. Plaintiff was an employee of

Defendant at all times material to the Complaint.

       6.       Defendant TRMC is a for-profit company licensed to do business in

Georgia. Defendant transacts business in the Middle District of Georgia.

       7.       Defendant is subject to the Court’s jurisdiction and may be served with

process through its registered agent for service of process, Karen Summerlin, 901

East 18th Street, Tifton, Georgia 31794.

       8.       Defendant is a covered employer under Title VII.

                        ADMINISTRATIVE PROCEEDINGS

       9.       Plaintiff filed a timely Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”).

       10.      On December 11, 2019, the EEOC issued Plaintiff his notice of right to

sue.




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     11.      All administrative prerequisites for filing suit on Plaintiff’s Title VII

claims have been satisfied.

                              FACTUAL ALLEGATIONS

     12.      Edwards is black.

     13.      Edwards was hired by TRMC in mid-February 2019 as a food service

employee.

     14.      Shortly after his arrival, his supervisor Tony (LNU), a white man,

began to say racially derogatory comments to Edwards while staring at him very

aggressively. The comments included “you need to outwork a Mexican” and “you

need to work as hard as a slave.”

     15.      Tony (LNU) did not make similar comments to the white food service

employees.

     16.      After hearing these comments, Edwards reported his supervisor’s

mistreatment to a Human Resources representative, who agreed that behavior could

not be tolerated and she would speak with Tony (LNU) about it.

     17.      Within five days of his report of race discrimination to the Human

Resources representative, Edwards was terminated.

     18.      On April 15, 2019, Plaintiff filed a Charge of Discrimination with the

EEOC alleging race discrimination and retaliation in violation of Title VII with

respect to his termination.


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     19.       On December 11, 2019, the EEOC issued a notice of right to sue on

Plaintiff’s Charge of Discrimination.

                            COUNT I
    DISCRIMINATION IN VIOLATION OF TITLE VII OF THE CIVIL
      RIGHTS ACT OF 1964, AS AMENDED, 42 U.S.C. § 2000e et seq.

     20.       Plaintiff incorporates by reference all preceding paragraphs of the

Complaint.

     21.       Defendant harassed Plaintiff on account of his race during his

employment at TRMC.

     22.       Defendant terminated Plaintiff because of his race.

     23.       At a minimum, race provided a mixed motive for Plaintiff’s

termination.

     24.       Defendant’s discriminatory termination of Plaintiff was in violation of

Title VII.

     25.       Defendant willfully and wantonly disregarded Plaintiff’s rights under

Title VII and acted in reckless disregard for Plaintiff’s rights under Title VII.

     26.       Defendant’s discriminatory actions against Plaintiff were taken in bad

faith.

     27.       As a result of Defendant’s discriminatory termination of Plaintiff,

Plaintiff has suffered lost compensation and other benefits of employment,

emotional distress, inconvenience, loss of income, humiliation and other indignities.


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        28.      Pursuant to Title VII, Plaintiff is entitled to damages including, back

pay and lost benefits, front pay and/or reinstatement, compensatory damages,

punitive damages, attorneys’ fees and costs of litigation, and all other relief

recoverable under Title VII.

                                COUNT II
               DISCRIMINATION IN VIOLATION OF 42 U.S.C. § 1981

        29.      Plaintiff incorporates by reference all preceding paragraphs of the

Complaint.

        30.      Defendant harassed Plaintiff during his employment on account of his

race.

        31.      Defendant terminated Plaintiff because of his race.

        32.      At a minimum, race provided a mixed motive for Plaintiff’stermination.

        33.      Defendant’s discriminatory termination of Plaintiff was in violation of

§ 1981.

        34.      Defendant willfully and wantonly disregarded Plaintiff’s rights under

1981 and acted in reckless disregard for Plaintiff’s rights under § 1981.

        35.      Defendant’s discriminatory actions against Plaintiff were taken in bad

faith.

        36.      As a result of Defendant’s discriminatory termination of Plaintiff,

Plaintiff has suffered lost compensation and other benefits of employment,

emotional distress, inconvenience, loss of income, humiliation and other indignities.
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       37.      Pursuant to § 1981, Plaintiff is entitled to damages including, back pay

and lost benefits, front pay and/or reinstatement, compensatory damages, punitive

damages, attorneys’ fees and costs of litigation pursuant to 42 U.S.C. § 1988, and all

other relief recoverable under §1981.

                             COUNT III
        RETALIATION IN VIOLATION OF TITLE VII OF THE CIVIL
        RIGHTS ACT OF 1964, AS AMENDED, 42 U.S.C. § 2000e et seq.

       38.      Plaintiff incorporates by reference all preceding paragraphs of the

Complaint.

       39.      Plaintiff engaged in protected activity under Title VII by making

internal complaints to Defendant’s Human Resources about his immediate

supervisor alleging racial discrimination.

       40.      Defendant retaliated against Plaintiff for engaging in protected activity

under Title VII by terminating his employment just days after his internal complaint.

       41.      Defendant’s retaliatory termination of Plaintiff was in violation of Title

VII.

       42.      Defendant willfully and wantonly disregarded Plaintiff’s rights.

       43.      Defendant’s retaliatory actions against Plaintiff were taken in bad faith.

       44.      As a result of Defendant’s retaliatory termination of Plaintiff, Plaintiff

has suffered lost compensation and other benefits of employment, emotional

distress, inconvenience, loss of income, humiliation and other indignities.


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     45.      Pursuant to Title VII, Plaintiff is entitled to damages including, back

pay and lost benefits, front pay and/or reinstatement, compensatory damages,

punitive damages, attorneys’ fees and costs of litigation, and all other relief

recoverable under Title VII.

                              COUNT IV
              RETALIATION IN VIOLATION OF 42 U.S.C. § 1981

     46.      Plaintiff incorporates by reference all preceding paragraphs of the

Complaint.

     47.      Plaintiff engaged in protected activity under §1981 by making internal

complaints to Defendant’s Human Resources about his immediate supervisor’s

racial discrimination.

     48.      Defendant retaliated against Plaintiff for engaging in protected activity

under § 1981 by terminating his employment just days after his internal complaint.

     49.      Defendant’s actions, in subjecting Plaintiff to retaliation for engaging

in protected activity by complaining of, and opposing, race discrimination, constitute

unlawful intentional retaliation in violation of § 1981.

     50.      Defendant willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s retaliation against Plaintiff was undertaken in bad faith.

     51.      As a result of Defendant’s unlawful actions, Plaintiff has suffered lost

compensation and other benefits of employment, emotional distress, inconvenience,

loss of income, humiliation, and other indignities.
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     52.        Pursuant to Section 1981, Plaintiff is entitled to damages including,

back pay and lost benefits, front pay and/or reinstatement, compensatory damages,

punitive damages, attorneys’ fees and costs of litigation pursuant to 42 U.S.C. §

1988, and all other relief recoverable under § 1981.

                                PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands a TRIAL BY JURY and the following

relief:

          (a)   A declaration that Defendant has violated the rights of Plaintiff under

                the federal statutes listed above;

          (b)   A permanent injunction against Defendant enjoining Defendant from

                further violations of the federal statutes listed above;

          (c)   Full back pay from the date of Plaintiff’s termination, taking into

                account all raises to which Plaintiff would have been entitled but for his

                unlawful termination, and all fringe and pension benefits of

                employment, with prejudgment interest thereon;

          (d)   Reinstatement to Plaintiff’s former position with Defendant, or in the

                alternative, front pay to compensate Plaintiff for lost future wages,

                benefits, and pension;

          (e)   Compensatory damages, in an amount to be determined by the

                enlightened conscience of the jury, for Plaintiff’s emotional distress,


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             suffering, inconvenience, mental anguish, loss of enjoyment of life and

             special damages;

      (f)    Punitive damages in an amount to be determined by the enlightened

             conscious of the jury to be sufficient to punish Defendant for its conduct

             toward Plaintiff and deter Defendant from similar conduct in the future;

      (g)    Reasonable attorneys’ fees and costs.

      (h)    Other and further relief as the Court deems just and proper.

             PLAINTIFF DEMANDS A TRIAL BY JURY.

      Respectfully submitted this 7th day of January, 2020.

                                       LEGARE, ATTWOOD & WOLFE, LLC

                                 By:   /s/ Eleanor Mixon Attwood
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